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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

MELISSA HIGNELL-STARK                                 CIVIL ACTION NO. 19-cv-13773
WHITE SPIDER RENTAL
CONCIERGE, LLC.,                                      SEC. B (1)
GARETT MAJOUE,
RUSSELL FRANK,                                        JUDGE: Ivan L.R. Lemelle
SAMANTHA and BOB MCRANEY,
and JIMMIE TAYLOR                                     MAG.: Janis Van Meerveld
               Plaintiffs

               versus

The CITY OF NEW ORLEANS
                  Defendant
____________________________________________________________________________

                     REPLY IN SUPPORT OF MOTION
         FOR DECLARATORY JUDGMENT AND PERMANENT INJUNCTION


1.     Plaintiffs have filed a corrected motion titled Ex Parte, as it should have been.

2.     Fed. R. App. Proc. 41(a) provides: “Unless the court directs that a formal mandate issue,

the mandate consists of a certified copy of the judgment, a copy of the court's opinion, if any, and

any direction about costs.” The 5th Circuit’s Opinion and Judment are attached to Plaintiff’s

motion. They do not direct that a formal mandate issue, and the Judgment contains the Court’s

direction about costs. Therefore, these comprise the mandate.

       Considering the foregoing, Plaintiffs respectfully suggest that their Motion be granted.

                                      Respectfully submitted,


                                      /s/ Dawn Adams Wheelahan
                                      Dawn Adams Wheelahan
                                      Trial Counsel
                                      La. Bar No. 19263
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                         1819 Joseph Street
                         New Orleans, Louisiana 70115
                         Telephone: 512-689-1153
                         Email: dwheelahan@gmail.com
